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                                                        5 Attorney for Defendant Sherry Ann Pierce

                                                        6                          IN THE UNITED STATES DISTRICT COURT

                                                        7                               FOR THE DISTRICT OF ARIZONA

                                                        8
                                                               United States of America,                    No. CR17-713-PHX-JTT
                                                        9
                                                                                    Plaintiff,
ASHLEY D. ADAMS, PLC




                                                                                                               DEFENDANT SHERRY PIERCE’S
                       4301 N. 75th Street, Suite 105




                                                        10
                          Scottsdale, AZ 85251




                                                                                                                 MOTION TO STRIKE THE
                             (480) 219-1366




                                                               v.                                                TESTIMONY OF THOMAS
                                                        11                                                            BRODERICK
                                                               Gary Leonard Pierce, George Harry
                                                        12     Johnson, James Franklin Norton and                  (Defendant Out of Custody)
                                                               Sherry Ann Pierce,
                                                        13                                                         (Oral Argument Requested
                                                                                   Defendants.
                                                        14
                                                                    Defendant Sherry Pierce, by and through undersigned counsel, hereby files her Motion
                                                        15
                                                             to Strike the anticipated testimony of the government’s proposed expert, Thomas M.
                                                        16
                                                             Broderick. Ms. Pierce’s Motion is supported by the attached Memorandum of Points and
                                                        17
                                                             Authorities.
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                                                         1 MEMORANDUM OF POINTS AND AUTHORITIES

                                                         2 I.      FACTS

                                                         3         A.     The Indictment

                                                         4         On or about May 23, 2017, the Grand Jury issued an Indictment charging Defendants

                                                         5 with one count of Conspiracy in violation of 18 U.S.C. § 371, two counts of Federal Programs

                                                         6 Bribery in violation of 18 U.S.C. § 666(a)(1)(B), one count of Honest Services Mail Fraud in

                                                         7 violation of 18 U.S.C. § 1341 and 1346, and five counts of Honest Services Wire Fraud in

                                                         8 violation of 18 U.S.C. § 1343 and 1346. In essence, the government alleges that former Arizona

                                                         9 Corporation Commissioner Gary Pierce was bribed indirectly by Defendant George Johnson in
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                                                        10 exchange for Mr. Pierce’s favorable votes related Johnson Utilities’ pending rate case, and a
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                                                        11 proposed policy to treat income tax as a cost for pass-through entities. The form of the bribe,

                                                        12 the Indictment alleges, was $31,500 in wages paid to Gary Pierce’s wife, Sherry Pierce, while

                                                        13 she was working for KNB Consulting (hereinafter “KNB.”) KNB is K.N’s company. K.N. is

                                                        14 Defendant Jim Norton’s ex-wife. Defendants vehemently dispute these allegations. 1

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                                                        19   Ms. Pierce intends to demonstrate at trial that she performed bona fide services for the salary
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                                                           she was paid, was qualified for the position, and indeed has vast experience in election and
                                                        20 voting issues. The evidence will further show that Gary Pierce had been interested in and a
                                                           proponent of, the income tax pass through issue, long before the matter came to a vote at the
                                                        21 ACC. Mr. Pierce, a lifelong public servant, did not engage in any of the improper conduct with
                                                           which he is charged. The government’s entire case rests on the testimony of K.N., who publicly
                                                        22 vowed to get revenge on her husband.



                                                                                                           2
                                                         1        B.     “The Opinion of Thomas M. Broderick.”

                                                         2        On or about February 12, 2018, the government disclosed the “Opinion of Thomas M.

                                                         3 Broderick” (hereinafter “Opinion”), which is attached hereto as Exhibit 1. 2 Mr. Broderick’s

                                                         4 CV is attached as Exhibit 2. Most of Mr. Broderick’s Opinion consists of a resuscitation of

                                                         5 various documents, transcripts, and recordings related to matters before the Arizona

                                                         6 Corporation Commission (hereinafter “ACC”). All of the documents summarized by Mr.

                                                         7 Broderick are public records, although many have not yet been produced by the government.

                                                         8 Interwoven throughout the Opinion are some of Mr. Broderick’s personal observations about

                                                         9 Mr. Pierce’s conduct.
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                                                        10        The Contract between Mr. Broderick and the U.S. Attorney’s Office defined Mr.
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                                                        11 Broderick’s “Statement of Work” as follows:

                                                        12        “…to analyze ACC records pertaining to Johnson Utilities from the inception of the
                                                                  company and its regulation by the ACC until Commissioner Gary Pierce was no longer
                                                        13        a member of the ACC as of January 2015. The work will include an analysis of actions
                                                                  taken by the ACC during the conspiracy period as it related to the relevant facts of
                                                        14        the criminal case and defendants. He will provide expert input to assist the trial
                                                                  team in preparing for the trial regarding the operations and procedures of the
                                                        15        ACC…” (Emphasis added.)

                                                        16        (Opinion, Exhibit 1, pp. 13-14.)

                                                        17        While it is difficult to discern the precise nature of Mr. Broderick’s “expert” analysis,

                                                        18 Mr. Broderick also examined, “relevant comparisons of actions taken or not by Gary Pierce in

                                                        19 the pre-conspiracy period and during the conspiracy period.” Id. Mr. Broderick appears to

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                                                             2
                                                        21   Mr. Broderick was the Director of the Utilities Division of the ACC from July 2015-
                                                           December of 2016. He was not employed by the ACC during the period of the Indictment,
                                                        22 and has no personal knowledge of the events contained in his Opinion, other than that gleaned
                                                           from his review of the public records referenced therein.


                                                                                                          3
                                                         1 conclude that, “Gary Pierce’s discretionary supportive actions in these two dockets far

                                                         2 exceeded those of any other commissioner” in the subject Johnson Utilities cases.

                                                         3         As set forth below, the Opinion does not meet the admissibility standards set forth in

                                                         4 Rule 702 of the Federal Rules of Evidence, or the factors set forth in Daubert v. Merrell Dow

                                                         5 Pharms, Inc. 509 U.S. 579, 587-92 (1999), and Kumho Tire v. Carmichael, 526 U.S. 137

                                                         6 (1999). For these reasons, Mr. Broderick should not be permitted to testify as an expert

                                                         7 witness.

                                                         8 II.     The Daubert/Kumho and Rule 702 tests for admissibility of expert testimony.

                                                         9         Rule 702 of the Federal Rules of Evidence provides that expert opinion evidence is only
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                                                        10 admissible if: (1) the witness is sufficiently qualified as an expert by knowledge, skill,
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                                                        11 experience, training, or education; (2) the scientific, technical, or other specialized knowledge

                                                        12 will help the trier of fact to understand the evidence or to determine a fact in issue; (3) the

                                                        13 testimony is based on sufficient facts or data; (4) the testimony is the product of reliable

                                                        14 principles and methods; and (5) the expert has reliably applied the relevant principles and

                                                        15 methods to the facts of the case. Fed.R.Evid. 702.

                                                        16         In Daubert, the Supreme Court abandoned the “general acceptance” test as the sole

                                                        17 determinant in the admission of scientific expert testimony in favor of a broader examination

                                                        18 which included such factors as: (1) whether the scientific theory or technique can be (and has

                                                        19 been) tested; (2) whether the theory or technique has been subjected to peer review and

                                                        20 publication; (3) whether a particular technique has a known potential rate of error; and (4)

                                                        21 whether the theory or technique is generally accepted in the relevant scientific

                                                        22 community. 509 U.S. at 593-594. Thereafter, the Supreme Court expanded the scope of the

                                                             Daubert test to all expert testimony, whether scientific or non-scientific, in Kumho Tire v.
                                                                                                           4
                                                         1 Carmichael, 526 U.S. 137, 119 S.Ct. 1167 (1999). These cases instill in the trial court the

                                                         2 obligation to serve as a “gatekeeper,” and to ensure that any and all expert testimony “is not

                                                         3 only relevant, but reliable.” Daubert, 509 U.S. 579.

                                                         4           Expert testimony must not, “usurp[s] either the role of the trial judge in instructing the

                                                         5 jury as to the applicable law, or the role of the jury in applying that law to the facts before

                                                         6 it.” United States v. Bilzerian, 926 F.2d 1285, 1294 (2d Cir.1991). Such testimony must also

                                                         7 “aid the jury in making a decision…” and not tell the jury what result to reach, thereby

                                                         8 substituting “the expert's judgment for the jury's.” United States v. Duncan, 42 F.3d 97, 101

                                                         9 (2d Cir.1994); Nationwide Transp. Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051, 1058 (9th Cir.
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                                                        10 2008)(Expert's testimony as to how Uniform Commercial Code (UCC) applied to facts of
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                                                        11 case and his explanation that conduct of payment service violated UCC was not admissible);

                                                        12 City of Phoenix v. First State Ins. Co., 2016 WL 4592906 (D. Ariz. Sept. 2, 2016)(Professor’s

                                                        13 report offered in insurance coverage dispute excluded on the basis that report invaded the

                                                        14 province of the court by expounding on law and invaded the province of the jury by resolving

                                                        15 facts.)

                                                        16 III.      Broderick’s Opinion and Proposed Testimony Should Be Stricken

                                                        17           A.     The Portion of Broderick’s Opinion which simply summarizes
                                                                            filings does not require expertise, nor does it assist the jury.
                                                        18
                                                                     Expert opinion must have “substance such that it would be helpful to the jury.” Alaska
                                                        19
                                                             Rent–A–Car, Inc. v. Avis Budget Grp., Inc., 709 F.3d 872, 882 (9th Cir. 2013), opinion
                                                        20
                                                             amended and superseded on other grounds, 738 F. 3d 960 (9th Cir. 2013). In other words, it
                                                        21
                                                             should “address an issue beyond the common knowledge of the average layman.” Mukhtar v.
                                                        22
                                                             Cal. State Univ., Hayward, 299 F.3d 1053, 1065 n. 9 (9th Cir. 2002), overruled on other

                                                                                                              5
                                                         1 grounds by Estate of Barabin v. AstenJohnson, Inc., 10-36142, 2014 WL 129884 (9th Cir.

                                                         2 Jan. 15, 2014).

                                                         3         Mr. Broderick’s summary of the various ACC filings, as they appear in his report, do

                                                         4 not require any expertise. These documents could be summarized by a case agent at trial, or

                                                         5 any witness for that matter. The filings at issue are public records, admissible pursuant to

                                                         6 F.R.E. 803(8), and thus no foundation need be laid. Mr. Broderick’s regurgitation of their

                                                         7 contents does not assist the jury in any way, as the documents speak for themselves. See In

                                                         8 Re Apollo Grp. Inc. Sec. Litig., 527 F. Supp. 2d 957, 962 (D. Ariz. 2007) (“[T]he fact finder

                                                         9 is ... fully capable of understanding the evidence and deciding the issues through the use of
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                                                        10 its common knowledge and common sense.”)
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                                                        11         B.     Broderick’s Opinion does not offer expert testimony.

                                                        12         Broderick’s Opinion does not indicate exactly what information Mr. Broderick is

                                                        13 providing that will help the trier of fact to understand the evidence or to determine a fact in

                                                        14 issue. See Fed.R.Evid. 702(2). Mr Broderick has provided a historical account of the Johnson

                                                        15 rate case, and the income tax pass-through issue, facts which can be gleaned from the

                                                        16 documents themselves.

                                                        17         Mr. Broderick’s personal opinions about Mr. Pierce’s actions are not relevant, nor are

                                                        18 they based on any scientific, technical, or other specialized knowledge, which has been peer

                                                        19 reviewed and tested. See Daubert, 509 U.S. at 593-594. Mr. Broderick’s former position as

                                                        20 (a short term) Utilities Director does not make him more qualified to opine about Mr. Pierce’s

                                                        21 conduct than the fact witnesses who were actually present for the Johnson matters. The best

                                                        22 witnesses to testify about the dynamics surrounding the Johnson rate case, and the income tax

                                                             pass-through, are the Commissioners who were actually there. Why does the government
                                                                                                          6
                                                         1 need Mr. Broderick, to testify about the income tax pass through issues, for example, when it

                                                         2 could call Susan Bitter Smith, Bob Stump, and Brenda Burns, and Bob Burns, the

                                                         3 Commissioners at the time, who voted 4-1 in favor of the income tax pass through? 3 Surely,

                                                         4 these Commissioners can testify about whether they were unduly influenced by Mr. Pierce,

                                                         5 as Mr. Broderick seems to suggest. The Commissioners are in a far better position than Mr.

                                                         6 Broderick to describe the political landscape in which these measures were passed.

                                                         7         Further, Mr. Broderick has no personal knowledge regarding the state of mind of any

                                                         8 of the Commissioners who voted on the various agenda items. He was not present when the

                                                         9 Commissioners discussed these issues with their policy advisers, or perhaps amongst
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                                                        10 themselves, prior to the votes. 4 There are many factors which might affect the way a
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                                                        11 Commissioner votes, including his or her political affiliation, personal biases and beliefs. Mr.

                                                        12 Broderick cannot opine as to why the Commissioners voted the way that they did-only the

                                                        13 Commissioners know the rationale behind their votes.

                                                        14         The ACC is made up of elected officials, and its composition changes every two years,

                                                        15 as terms expire. Commissioners have their own way of doing things, and their individual

                                                        16

                                                        17   3
                                                                The Johnson rate case was decided in 2012. The Commissioners at that time were Gary
                                                        18   Pierce, Paul Newman, Sandra Kennedy, Brenda Burns, and Bob Stump. Mr. Pierce was
                                                             Chairman during that 2011 and 2012 time period. The Commission voted on the pass through
                                                        19   issue in February of 2013. The vote followed the 2012 election, where Kennedy and Newman,
                                                             both Democrats, lost to Bob Burns and Susan Bitter-Smith. As the composition of the
                                                        20   Commission changes, so does the ability to advance policy changes, as was the case for the
                                                             income tax pass through, which Mr. LeSueur will testify was of interest to Mr. Pierce long
                                                        21   before 2012.
                                                             4
                                                               For example, Mr. Broderick was not privy to the behind the scenes research on the income
                                                        22
                                                             tax pass through issue conducted by John LeSueur, Mr. Pierce’s policy advisor.


                                                                                                           7
                                                         1 personalities. Each is serving his or her constituents, and pursuing those policies and agendas

                                                         2 which are consistent with the stated mission. Mr. Broderick’s observation about what Mr.

                                                         3 Pierce did, as compared to the other Commissioners, is not only irrelevant, it is not significant

                                                         4 in this context. Mr. Pierce was the Chairman of the Commission during 2011-2012, and thus

                                                         5 it is only natural that he would push through policy objectives which were important to him,

                                                         6 such as the income tax pass-through. Regardless, Mr. Broderick’s conclusions about Mr.

                                                         7 Pierce’s conduct are pure speculation.

                                                         8         In sum, Mr. Broderick’s Opinion does not offer any additional insight that will aid the

                                                         9 jury in any way. If anything, his personal observations will only serve to confuse and mislead
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                                                        10 the jury, and should be stricken. See United States v. Rincon, 28 F.3d 921, 926 (9th Cir.1994)
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                                                        11 (To fulfill its gate-keeping role, the court must “strike the appropriate balance between

                                                        12 admitting reliable, helpful expert testimony and excluding misleading or confusing

                                                        13 testimony.”)

                                                        14 C.      Mr. Broderick’s Opinion invades the province of the jury.

                                                        15         Although Mr. Broderick’s Opinion is not entirely clear, he appears to opine that Mr.

                                                        16 Pierce did something improper. The evaluation of the propriety of Mr. Pierce’s conduct rests

                                                        17 solely in the hands of the jury. See Valtierra v. City of Los Angeles, 99 F. Supp. 3d 1190,

                                                        18 1198 (C.D. Cal. 2015) (excluding expert testimony that “the use of force was ‘excessive’ or

                                                        19 ‘unreasonable,’ under the circumstances,” but allowing expert’s opinions to “be explored

                                                        20 through hypothetical questioning so as to avoid invading the province of the jury”). Mr.

                                                        21 Broderick’s Opinion does not aid the jury in its decision, but instead appears to advise the

                                                        22 jury what result it should reach. As the Honorable Neil Wake observed recently in City of



                                                                                                           8
                                                         1 Phoenix v. First State Ins. Co., 2016 WL 4592906, after examining the admissibility of the

                                                         2 expert opinion of law professor who had published books and articles on insurance law:

                                                         3          None of this is legitimate expert testimony. Federal Rule of Evidence 702 permits
                                                                    an expert to testify only if the testimony “will help the trier of fact to understand the
                                                         4          evidence or to determine a fact in issue.” An expert “cannot give an opinion as to
                                                                    her legal conclusion, i.e., an opinion on an ultimate issue of law. Similarly,
                                                         5          instructing the jury on the applicable law is the exclusive province of the
                                                                    court.” (Citations omitted.) …As illustrated above, much of Stempel's report
                                                         6          invades the province of the court by expounding law or invades the province of the
                                                                    jury by resolving facts. ….Stempel does not just “refer” to legal provisions; he
                                                         7          spends pages detailing insurance law, complete with case citations. He offers to
                                                                    testify that The Hartford breached the terms of its policies, acted in bad faith, and
                                                         8          deserves punitive damages. None of that is admissible on this record; indeed, it is
                                                                    all incorrect….
                                                         9
                                                                    Like Professor Stempel, Mr. Broderick’s personal opinion about why Mr. Pierce did
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                                                             what he did is not relevant, and invades the province of the jury.
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                                                        11
                                                             III.   CONCLUSION.
                                                        12
                                                                    For the reasons set forth above, Ms. Pierce respectfully requests that this Court strike
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                                                             the testimony of Mr. Broderick and not allow him to testify as an expert at trial.
                                                        14
                                                                    RESPECTFULLY SUBMITTED this 22th day of February, 2018.
                                                        15
                                                                                                         ASHLEY D. ADAMS, PLC
                                                        16

                                                        17                                               By: s/Ashley D. Adams
                                                                                                            Ashley D. Adams
                                                        18                                                  Attorney for Defendant Sherry Ann Pierce

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                                                         1                                CERTIFICATE OF SERVICE

                                                         2        I hereby certify that on 22th day of February, I electronically transmitted foregoing
                                                           document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice
                                                         3 of Electronic Filing to the following CM/ ECF registrants:

                                                         4 THE HONORABLE JOHN J. TUCHI
                                                           United States District Court
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